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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


BRIDGET KING,

                       Plaintiff,

v.                                                            Case No: 6:15-cv-268-Orl-41KRS

WYNDHAM VACATION RESORTS,
INC.,

                       Defendant.
                                            /

                                            ORDER

        THIS CAUSE is before the Court on the Joint Stipulation of Dismissal with Prejudice (Doc.

21). Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the Clerk of Court is directed to

close this case.

        DONE and ORDERED in Orlando, Florida on October 29, 2015.




Copies furnished to:

Counsel of Record




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